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 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2   LAW OFFICES OF JAMES R. GREINER
     555 UNIVERSITY AVENUE, SUITE 290
 3   SACRAMENTO, CALIFORNIA 95825
     TELEPHONE: (916) 649-2006
 4   FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     RENE WRIGHT
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                   )        CR-S-08-212-LKK
10                                               )
            PLAINTIFF,                           )        STIPULATION AND
11                                               )        ORDER TO CONTINUE JUDGMENT
            v.                                   )        AND SENTENCING TO
12                                               )        TUESDAY SEPTEMBER 27, 2011
     RENE WRIGHT, et al.,                        )
13                                               )
                                                 )
14          DEFENDANTS.                          )
                                                 )
15   ______________________________              )
16
            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr.
17
     Richard Bender and defendant Ms. Rene Wright, by her attorney Mr. James R. Greiner, hereby
18
     stipulate and agree that the judgement and sentencing set for Tuesday, June 28, 2011, at 9:15 a.m.
19
     before the Honorable Senior United States District Court Judge, Lawrence K. Karlton, may be
20
     continued to Tuesday, September 27, 2011, at 9:15 a.m..
21
            The Court’s courtroom deputy, Ms. Ana Rivas, has been contacted to ensure the Court’s
22
     calendar was available for that date and the Court is available on Tuesday, September 27, 2011.
23
            The defense is requesting this continuance, without objection from the government or
24
     probation, to allow the defendant to complete the terms of her plea agreement.
25
            The parties agree to the following Pre-Sentence Report disclosure dates:
26
27
28                                                    1
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 1          The Proposed Pre-Sentence Report shall be disclosed
            to counsel no later than:                                             August 16, 2011
 2
            Counsel’s written objections to the Pre-Sentence
 3          Report shall be delivered to the Probation Officer and
            opposing counsel no later than:                                       August 30, 2011
 4
            The Pre-Sentence Report shall be filed with the Court
 5          and disclosed to counsel no later than                                        September 6,
                                                                                          2011
 6
            Motion for correction of the Pre-Sentence Report
 7          shall be filed with the Court and served on the Probation
            Officer and opposing counsel no later than:                           September 13, 2011
 8
            Reply or statement of non-opposition                                  September 20, 2011
 9
            Judgment and sentencing date:                                         September 27, 2011
10
11
12                                         Respectfully submitted,
                                           BENJAMIN B. WAGNER
13                                         UNITED STATES ATTORNEY
14                                         /s/ RICHARD J. BENDER by e mail authorization
     DATED: 6-23-11                        _____________________________________
15                                         Richard J. Bender
                                           ASSISTANT UNITED STATE ATTORNEY
16                                         ATTORNEY FOR THE PLAINTIFF
17
     DATED: 6-23-11                        /s/ James R. Greiner
18                                         _______________________________________
                                           James R. Greiner
19                                         Attorney for Defendant
                                           Rene Wright
20
21                                                   ORDER
            For the reasons stated in the parties’ stipulation, the Court hereby orders that the date for
22
     sentencing is continued from June 28, 2011 to September 27, 2011 at 9:15 a.m., and the schedule for
23
     the disclosure of the Pre-Sentence Report is amended as set forth in the stipulation.
24
25
            FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
26
27   DATED: June 27, 2011
28


                                                       2
